     Case 1:03-cr-00144-DAE           Document 38     Filed 06/22/2006      Page 1 of 1

                                        MINUTES
                                                                     FILED IN THE
                                                            UNITED STATES DISTRICT COURT
                                                                 DISTRICT OF HAWAII

                                                                 6/22/2006 4:30 pm

                                                                 SUE BEITIA, CLERK

 CASE NUMBER:            CR 03-00144DAE
 CASE NAME:              USA v. Yasushi Arakaki, Jr.
 ATTYS FOR PLA:          Ken Sorenson
 ATTYS FOR DEFT:         Alvin Nishimura
 USPO:                   Carter Lee



       JUDGE:      David Alan Ezra                  REPORTER:        Cynthia Fazio

       DATE:       6/22/2006                        TIME:            9:00am-

COURT ACTION: EP: Order to Show Cause Why Supervised Released Should Not Be
Revoked.

Defendant Yasushi Arakaki, Jr. present in custody.

Defendant admits to all violations.

Order to Show Cause Why Supervised Released Should Not Be Revoked-REVOKED.

SENTENCE:

Imprisonment: 24 MONTHS

Supervised Release: NONE IMPOSED

JUDICIAL RECOM MENDATIONS: Sheridan, OR. Educational and Vocational
training. Mental health treatment. Drug treatment.

Defendant advised of his right to appeal.

Defendant remanded to the custody of U.S. Marshals.

Submitted by: Theresa Lam, Courtroom Manager
